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U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

+4,- Charles Till, Plaintiff v. .
Case Title: National General Accident and Case Number: pl] - ew- 1aF€
Health

Insurance Gamnanyv Nefeandant _
An appearance is hereby filed by the undersigned as attorney for:

Plaintiff, Charles Till
Attorney name (type or print): John C. Kreamer

Firm: Kreamer Law Group, LLC
Street address: 1100 E. Warrenville Rd., Suite 135
City/State/Zip: Naperville, IL 60563

Bar ID Number: 6270111 Telephone Number: 630.995.3668
(See item 3. in instructions)

Email Address: jckreamer@kreamerlawgroup.com

Are you acting as lead counsel in this case? | Yes No
Are you acting as local counsel in this case? Yes || No
Are you a member of the court’s trial bar? | Yes No
If this case reaches trial, will you act as the trial attorney? w| Yes No
If this is a criminal case, check your status. Retained Counsel

Appointed Counsel
If appointed counsel, are you

Federal Defender
CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
! declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on March 5, 2021

Attorney signature: S/ John C. Kreamer

(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
